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                                                                                                 FILED
                                                                                      John E. Triplett, Acting Clerk
                       IN THE UNITED STATES DISTRICT COURT                             United States District Court

                      FOR THE SOUTHERN DISTRICT OF GEORGIA                         By casbell at 8:25 am, Aug 04, 2020

                               STATESBORO DIVISION


 JOSEPH HALL, JR.,

                 Plaintiff,                                 CIVIL ACTION NO.: 6:19-cv-23

        v.

 GEORGIA STATE PRISON OFFICIALS, et
 al.,

                 Defendants.


                                            ORDER

       This matter is before the Court on Defendants’ Motion to Stay Proceedings. Doc. 15.

Defendants’ counsel failed to indicate whether Plaintiff opposed their Motion, but Plaintiff has

not responded to this Motion, and the time to do so has expired, indicating there is no opposition.

Local R. 7.5 (“Failure to respond within the applicable time period shall indicate that there is no

opposition to the motion.”). Thus, the Court GRANTS Defendants’ unopposed Motion and

STAYS all discovery, pending resolution of Defendants’ motions to dismiss. If any claims

remain pending after the Court’s resolution of the motions to dismiss, this stay shall be lifted

automatically.

       SO ORDERED, this 4th day of August, 2020.




                                      ____________________________________
                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
